                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           WINSTON-SALEM DIVISION


 BRIAN LECLAIR, individually and on               Case No.: 1:25-cv-00578
 behalf of all others similarly situated,
                Plaintiff,


        v.


 AHOLD DELHAIZE USA SERVICES, LLC,


                Defendant.




   NOTICE OF FILING OF BRIAN LECLAIR’S MOTION TO INTERVENE AND
ESTABLISH SCHEDULE FOR MOTIONS TO APPOINT INTERIM CLASS COUNSEL


       Proposed Intervenor Brian LeClair (“Intervenor”), by and through his undersigned counsel,

hereby notifies this Court, that pursuant to Federal Rule of Civil Procedure 24, he has filed a

motion to intervene in the case captioned Henderson v. Ahold Delhaize USA Services, LLC, et al.,

Case No. 1:25-cv-00531 (M.D.N.C.) (the “Henderson Action”). If granted permission to intervene,

Intervenor will ask the Henderson Court to set a schedule by which all interested counsel may

submit an application for appointment as Interim Class Counsel pursuant to Fed. R. Civ. P. 23(g).



Dated: July 14, 2025.                        Respectfully submitted,

                                             /s/ Ryan A. Valente
                                             Ryan A. Valente (N.C. Bar No. 40140)
                                             POULIN | WILLEY | ANASTOPOULO, LLC
                                             32 Ann Street




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                              Attorneys for Plaintiff and the Proposed Class

                              *Pro hac vice application forthcoming




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